Case 2:94-cV-02862-BBD-cgc Document 468 Filed 07/07/05 Page 1 of 3 Page|D 297

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IN THE UNITED STATES DlsTRlCT COURT '“‘ED B"" di
FoR THE WESTERN DISTRICT oF TENNESSEE 05 M _,-, pH 3= 141

WESTERN DIVISION

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MS. G-;~J‘MST COUT

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mCHARD A. BOWER, vth tit w l"“ 513

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, ERNEST O. MCKNATT
and JOHN J. OSWALD,

Plaintiffs, Case No. 94-2862 D
vs.
RICHARD A. BOWER,

Plaintiff-hitervener,

SHARON HERDRICH, LUIS MORALES
and TIM WEISE,

Plaintiff~lnterveners,

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FEDERAL EXPRESS CORPORATION, )
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ORDER OF REFERENCE

 

Before the Court is Plaintiff Equal Ernployment Opportunity Commission’$ Motion to
Compel Discovery filed on July 6, 2005, in this case

This matter is hereby referred to the United States Magistrate Judge for a Determination.
Any exceptions to the Magistrate Judge’s order shall be made by motion within ten (l O) days of the

order. Further, all exceptions Shall be stated with particularity

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ICE B. DONALD
UNITED STATES DISTR]CT JUDGE

    

 

 

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US DISTRICT COURT

